Case 6:22-cv-01573-PGB-EJK Document 1-2 Filed 08/31/22 Page 1 of 2 PageID 10



May 03, 2022



Farah Petion, Agent

Farmers Insurance

14009 Narcoossee Road

Orlando, Florida 32832



David Allen




Re: Employment Offer



Dear Mr. David Allen:



I am pleased to offer you a full-time employment position as Business Operations Manager at the Farah
Petion Agency / Farmers Insurance in Orlando Florida, contingent upon your successful background
check. I believe your skills and experience are an excellent match for my agency.

In this role, as operations manager, amongst other capacities, you will be required to:

    •   Meet new business production goals and objectives as established by me.

    •   Solicit new business via telephone, networking, and other lead sources.

    •   Develop insurance quotes, make sales presentations, and close sales.

    •   Thoroughly understand and follow all underwriting, rating, and compliance requirements.

    •   Reviews sales data and recommends solution to improve profitability.

    •   Be proficient in multitasking, follow through and follow-up, tracking sales and make sure best
        practices being used.

    •   Have problem solving capabilities, strong work ethics, and leadership skills.

    •   Create strategies and policies for agency’s growth.

    •   Make sure operations runs smoothly and aligns with quality standards.

    •   Ensures training and compliance of sales team.



                                                                                  EXHIBIT A
Case 6:22-cv-01573-PGB-EJK Document 1-2 Filed 08/31/22 Page 2 of 2 PageID 11




    •   Maintain applicable license in appointed States and be in good standing.

The annual base starting salary for this position is $52,000 to be paid bi-weekly via direct deposit.
Earned commissions will be paid once a month via direct deposit. Annual base salary will increase by
5,000 when you reach 100,000 in your personal new business premium. In addition to this starting base
salary, we are offering you:

    •   10% commission on new business until you reach $50,000 gross written premiums.

    •   30% commission on new business until you reach $500,000 gross written premiums.

    •   40% commission on new business until you reach $1MM gross written premiums.

    •   60% commissions on all new business generated by independent ventures conducted solely by
        you.

    •   60% commissions on all new life insurance policies.

    •   1% of agent’s premium on new business when the agent has met or exceed their production
        goals.

    •   Generous bonus to be awarded based on agency’s production.

    •   Flexible work options. Remote.


Your employment with the agency will be on an at will basis, which means you or the agency are free to
terminate the employment relationship at any time and for any reason. This letter is not a contract or
guarantee of employment for a definitive period.

As an employee of the agency, you will be eligible for our benefit program after 90 days of employment.

Please confirm your acceptance of this offer by signing in returning this letter by May 06, 2022.

I am excited to have you join my team! If you have any questions concern, please feel free to reach out
to me at any time. I look forward to welcoming you onboard and working together.




Sincerely,

Farah Petion

Farmers Insurance Agent
